

People v Gonzalez (2023 NY Slip Op 00245)





People v Gonzalez


2023 NY Slip Op 00245


Decided on January 19, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 19, 2023

Before: Renwick, J.P., Webber, Moulton, González, Rodriguez, JJ. 


Ind No. 3181/16 Appeal No. 17135 Case No. 2019-426 

[*1]The People of The State of New York, Respondent, 
vRandy Gonzalez, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Ronald Zapata of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Jennifer Westphal of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (Robert Stolz, J.), rendered November 03, 2017,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 19, 2023
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate Division,
First Department.








